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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

Civil Action No. 1:19-cev-12235-LTS

JOSEPH MANTHA, on behalf of himself,

and all others similarly situated,
Plaintiff,

Vv.

QUOTEWIZARD.COM, LLC,

Defendant.

Remote videotaped deposition of
JOSEPH MANTHA, a witness called on behalf of the
Defendant, taken pursuant to the Federal Rules of Civil
Procedure, before Lori Atkinson, Notary Public in and
for the Commonwealth of Massachusetts and Professional
Shorthand Reporter, conducted via Zoom on

Thursday, September 10, 2020, commencing at 10:32 a.m.

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PROCEEDINGS

{Document marked as Exhibit No. 1 for
identification.)

THE VIDEOGRAPHER: We are on the record.
This is the videographer speaking, Bill Slater, of
Veritext. Today's date is September 10, 2020. The time
is approximately 10:32 a.m. This is day two of the
deposition of Joseph Mantha.

Counsel, please introduce yourselves for the
record.

MR. POLANSKY: Good morning. This is
Kevin Polansky for the Defendant, QuoteWizard.

MR. BRODERICK: Good morning, Edward
Broderick, for the Plaintiff.

THE VIDEOGRAPHER: Will the court reporter,
Lori Atkinson, please swear the witness in and we will
proceed.

THE COURT REPORTER: Will counsel please
stipulate to the swearing in of the witness remotely?

MR. POLANSKY: Yes.

MR. BRODERICK: Yes.

THE COURT REPORTER: Mr. Mantha, would you
raise your right hand, please.

(Witness complies.)

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THE COURT REPORTER: Do you solemnly swear
or affirm that the testimony you are about to give is
the truth, the whole truth, and nothing but the truth?

THE WITNESS: I do.

JOSEPH MANTHA,
having been satisfactorily identified and first duly
sworn by the Notary Public, was examined and testified
as follows:

DIRECT EXAMINATION
BY MR. POLANSKY:

Q. Good morning, Mr. Mantha. I'm not going to go
through sort of the background information we did last
time. We are going to try to stick to new topics or
expanding on topics that were already discussed briefly
last time.

Before I do so, I wanted to ask you: What did
you do to prepare for today's deposition?

A. In -- over the -- since the last one, I talked to
my lawyers a few times.

Q. I don't want to know anything that you discussed.

Did you speak to anyone else?
A. No.
Q. Did you view any documents in preparation for

today's deposition?

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A. No.

Q. Did you review your prior deposition testimony?

A. I received it shortly after. I kind of scanned
through it. I don't think I read every word start to
finish.

Q. When was that? When did you review it?

A. Around the time that I received it. I'm not sure
when I got it.

Q. Sometime in August?

A. Yes. What was the date of the last deposition?
I don't even know at this point.

Q. I think it was in July.

A. So whenever it was sent to me, maybe within a
week of that time. I don't have a date for you. I
don't know.

Q. It wasn't last week or two weeks ago?

A. No.

Q. Did you -- when you were reviewing the testimony,
was there anything that stood out to you that needed to
be changed?

A. No.

Q. After you testified last time, did you speak to
Steve Novia?

A. No.

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Q. You didn't tell him that you testi
name came up?

A. No.

Q. At some point did Mr. Novia become
knowledge, about a deposition of his comi

A. Yes.

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fied and his

aware, to your

ng up?

Q. Did you speak to him about his deposition?

A. No.

Q. In advance of your first depositio
speak to Mr. Novia about your deposition?
the first one.

A. I made him aware that I was going

n, did you

Not this one,

into it. But

didn't really speak about it, necessarily.

Q. What did you make him aware of?

A. That I had it.

Q. Did you speak to him on the phone?
A.

I'm not sure. I don't think so.

I might have.

I don't know. I remember letting him know that I was

doing it.
Q. Do you have access to the Exhibit
A. We did this last time. I would ne
of how to do it. But it worked.
MR. POLANSKY: If you sign in

we can go off the record for a moment.

Share website?

ed a refresher

to Veritext --

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THE VIDEOGRAPHER: The time is 10:36. We
are off the record.

(Break in the proceedings.)

THE VIDEOGRAPHER: This is the beginning of
media number two. We are back on the record. The time
is 10:37.

{Document marked as Exhibit No. 2 for
identification.)

BY MR. POLANSKY:

Q. I'm showing you what has been marked as Exhibit 2
for this deposition. And I will represent to you that
this is a text message that we received from Mr. Novia
prior to his deposition.

Have you seen this text stream before?

A. I don't remember having that exact conversation
but it is there. So sure.

Q. You don't remember having that conversation?

A. I remember that I had a communication with Steve.
I don't remember if I talked to him on the phone or if
we had a text message. Now you are showing me a text
message. I was aware that I talked to him in some form
letting him know that I had a deposition.

Q. Right. You can see from the first text that he

says, "Good luck tomorrow." Right?

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A. Yes.

Q. There is nothing that I can see above it. Right?
That appears to be the first text in this string. Would
you agree with me?

A. Yeah.

Q. I honestly don't know whether there was a text
before this. What I would like to get at is whether
there were more texts with Mr. Novia or whether you had
spoken to him on the phone about your deposition?

A. I understand what you're saying. I don't know.

I don't have any other text messages or even have those.

Q. You don't have these text messages?

A. I would have to look. I don't think so.

What I'm saying is I don't know if I spoke to him
on the phone prior to this or not?

Q. Let's back up a second. This is July 26th which,
you would agree with me, is about five or six weeks ago;
right?

A. Yes.

Q. Have you spoken to Mr. Novia between July 26th
and today on the phone?

A. No.

Q. If you spoke to him on the phone around the time

of July 26th, you have no memory of it from five weeks

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ago?
A.

Q.

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I don't.

I don't mean to sound degrading, But do you have

issues with your memory?

A. No, sir.

Q. You don't know if you've ever received these
texts from Mr. Novia?

A. Could you repeat that?

Q. You don't know if you still have these text
messages? By "text messages," I mean iMessages from

Mr. Novia?

Steve?

A.

Q.

You

Yes.

are asking me if I have them?

Are they still on your phone?

I would have to look.

You

are free to look.

When I type in his name for a message, nothing

up.

Do you have a tendency to delete your messages?

No.

So if the message with Mr. Novia -- strike that.

Do you recall receiving these text messages from

Yes.

I remember him saying "Good luck".

Do you recall deleting these messages from your

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A. No.

Q. How is it you know that these messages no longer
exist on your phone?

A. I just typed in his name. It is not there. Text
messages don't stick around.

Q. I think they stick around for most people. I can
go on my phone and look three years back and they still
come up.

Do you know if anyone else deleted these from
your phone?
No.

Does anyone have access to your iMessages?

> Oo >

No.

Q. Have you ever had issues with text messages or
iMessages being deleted in the past?

A. No.

Q. As you sit here today, you have no text messages
from Mr. Novia in your phone?

A. No.

MR. BRODERICK: Joe, did you hit message

before you typed his name in?
THE WITNESS: I hit message to type in like

a new message. Then I type in his name. Then when I

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hit his name, nothing comes up. If I were to do that --
say with my brother right now. When I typed in his
name, the last messages come up. I don't think my phone
keeps them after a certain period of time. I think
that's what it is.

BY MR. POLANSKY:

Q. The messages with your brother aren't deleted?

A. If I hit new message, I typed in Michael, and I
hit his name, the conversation comes up.

QO. But it doesn't come for Mr. Novia?

A. No.

Q. Are you searching under the correct name? Do you
have a nickname for Mr. Novia that possibly is contained
within your phone?

A. No. I type it in, there is one. It pops up
other Steve's that I have in my phone. There is only
one Steve Novia.

Q. Is my screen still being shared?

A. No.

Q. Moving on. It appears that you may have spoke to
Mr. Novia prior to your first deposition but you have no
memory of that conversation. Is that right?

MR. BRODERICK: Objection.

A. Correct.

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I don't know if I texted with him or if I talked

to him on the phone.

Q.

You are aware that your employers' deposition is

tomorrow; is that correct?

A.

Q.

Correct.

Have you spoken to anyone of your employer

regarding this case?

A.
Q.
A.
Q.

A.

I spoke to the VP of HR.

Who is that?

Derek Padon.

When did you speak with Derek Padon?

When it first came up for them. I believe they

received a subpoena. My CEO asked me to reach out to

him to follow up with what that is for.

Q.
A.
Q.
A.

Q.

Who is your CEO?

Michael Ames.

Did you speak to Michael Ames about the subpoena?
No.

Michael Ames was the recipient of the subpoena

that was issued in this case and he didn't discuss it at

all with you about what the case was about?

A.

Q.

A.

No. He put me in contact with HR.
Then you spoke to Derek Padon?

Yes.

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Q. When was that conversation with Derek Padon?

A. I don't know an exact date. Probably within a
few days of receiving that.

Q. How many times have you spoken to Derek Padon
about the case?

A. Just that first time. Then I believe that was
cancelled and I sent him another date to see if he could
do that date and he said yes.

QO. What was the conversation or -- strike that.

What was the substance of the conversation
between you and Mr. Padon?

A. I let him know that I was involved in a lawsuit.

Q. Did he ask you why he was being asked to testify?

A. Yes.

Q. What did you say?

A. I said that they are questioning my phone and
whether that is a business phone or a residential phone,
personal.

Q. What did he say?

A. I don't really remember what he said.

Q. Did you give him any instructions with respect to
his testimony?

A. No.

Q. Did he tell you whether he thought your phone was

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a personal or a business phone?

A. I think he immediately said, "Why would they
think that?" Or something along those lines. We don't
-- That's not a work phone. That is your phone. Or
something.

I said, Well, they need you to join the
deposition. Or something along those lines. It was
pretty quick and brief.

Q. Was there any discussion about being able to
provide helpful testimony to you?

A. No.

Q. Did he ask anything more about the case?

A. No.

Q. Did you talk about business records that the
school may have produced?

A. No.

Q. Did you talk to him about how often you use the
phone to receive calls from the school?

A. No.

Q. Did you talk to him about any directories where
your cell phone may be included at the school?

A. Can you repeat that?

Q. Sure. Did you speak to Mr. Padon about any

directories at the school that might list your cell

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phone number?

A. No.

Q. Since your last deposition, have you spoken to
anybody else other than your lawyers about this case?

A. My wife.

Q. What have discussed with your wife?

A. I think the one thing in particular that I talked
to her about was her brother.

QO. What about her brother?

A. He was brought up and, you know, I think I
mentioned or you mentioned him. And then we haven't
seen him in quite some time.

Q. Was there any discussion of whether -- strike
that.

Is his name Nicholas Banks?

A. Yes.

Q. Was there any discussion whether he could have
supplied your information in a website called
SnappyAutoInsurance.com?

A. No, I think I said, "Your brother's name came
up."

OQ. Did she ask in what context?

A. No -- I shouldn't say no. I said something like

that. But I mentioned like, Are you aware of his

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criminal history? Or something.

Q. I guess having a spouse of my own and knowing the
conversations that we have between one another it
strikes and me as odd that she wouldn't inquire about
why they were asking about her brother and his criminal
history?

A. Yes. She definitely did ask that first question
and what I said was that you had asked about his
criminal history and I think I said something like -- I

don't know.

It has been a sore subject in our family -- her
family. He has been -- I don't know what you call it --
taken out our lives by our doing. It has been a long

time of substance abuse history. And, you know, my wife
has done everything she can to help him and it is just
sad.

Q. Do you know whether your wife spoke to Mr. Banks
after you told her about your deposition testimony?

A. No, she hasn't talked to him.

Q. Other than -- did you have more to your answer?

A. I said she hasn't talked to him in a long time.
There might have been a few attempts by him over the
last two years to kind of start talking to her again.

But he has just not taken responsibility for his life

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and his actions.

Q. Other than -- I'm sorry.

A. She doesn't talk to him.

Q. Other than speaking with your wife about her
brother, was there any conversation regarding Snappy
Auto Insurance?

A. No.

Q. Were there any other -- did you discuss with her
the Steve Novia communications that you testified about?
A. I said Steve's name came up. Once I found out

that he was going to be deposed, I said that.

Q. Did she ask?

A. She asked the same question that I asked. "Can I
talk to Steve?" You know, "Am I allowed to?" We just
haven't which stinks.

Q. So are you aware whether she had spoken to Steve
at all during the course of this litigation?

A. To my knowledge she hasn't.

Q. What about Steve's wife?

A. What is that?

Q. What about Steve's wife?

A. Steve is not married.

Q. Does he have a significant other?

A. Not to my knowledge.

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Q. Anything else that you guys have discussed about
this case since your last deposition?

A. Since the last deposition?

Q. Yes.

A. Not really.

Q. When you say "not really," what have you
discussed?

A. When it is coming up and got scheduled, you are
going to be deposed. They are asking, can you do this
date? So small talk around it.

But in terms of talking about it, my wife has
never really cared to hear about it.

Q. Her deposition is tomorrow; is that right?

A. Correct.

Q. And have you done anything to assist her in
preparing for her testimony?

A. No. I set it up with her.

Q. You haven't told her what she can expect as far
as questions go?

A. No.

Q. No questions relating to consent, use of
computers; things like that?

A. No. I mean, she knows some of that stuff along

the way like when I sent off my computers. I had to sit

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by my computer and download my hard drive and all of
that stuff. She kind of knows some of the things that
went on along the way. But details and deep
conversations about it -- we have two little ones. She
doesn't really care.

Q. Now, moving on to your employment. I understand
that you are the director of residential operations; is
that right?

A. Yes.

QO. What is the name of the school?

A. Doctor Franklin Perkins School.

Q. That's a special education school?

A. Correct.

Q. From the last time, I understand you oversee six
residential homes; is that right?

A. Correct.

Q. The kids range anywhere from 12 to 21; is that
right?

A. Yes.

Q. I know you said the numbers fluctuate but usually
you have about 60 kids?

A. Correct.

Q. I'm sort of asking these questions because I'm

trying to move this along. Your normal hours that you

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work are usually in the office at the school; right?

A. Yes.

Q. That's from 8 to 4, 9 to 5?

A. Yes.

Q. Was that consistently the same -- strike that.

Were those the hours that you worked in 2019?

A. Yes. Occasionally a little earlier, occasionally
a little later. You know, the average that is the
schedule?

Q. As the director of residential operations, what
are your duties at the school?

A. I oversee the six programs. I oversee the six
directors. I oversee the overnight administrator. I
work together with the clinical directors, the nursing
director to provide treatment to the students, the
policy and procedures. We have licensures
accreditation.

Q. You said you have six directors. Do those six
directors report to you?

A. Correct.

Q. Who are those individuals?

A. Now? Or at the time back in --

Q. 2019.

A. I guess it would depend. I hired two new

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directors this year. That's why I'm asking because

there were four before.

Q.

A
Q.
A

0

Gross.

Q.

What are the two names?

Tim O'Day.

Tim who?

Tim O'Day.

Bill Cyr, C-Y-R.

Those are the two new ones from 2020?

No. I was naming the four. Sorry.

The new ones are Dylan Zukowski. And Kelly
They are both new since August of last year.

Going back to the four directors from 2019, we

have Tim O'Day and Bill Cyr. Who are the other two?

A.

Q.

Joel Howell. Amanda Saunders.

If I understand the hierarchy, you oversee

approximately 88 individuals, 88 staff members?

A.

direct

Yeah. So those direct reports. So I have seven

reports. I have six directors and the overnight

administrator. They have their staff for each of their

programs or division.

agency.

For example, the overnight staff cover the whole

But each director only cover covers the staff

in their house, if you will; morning and evening staff.

Q.

Who is the overnight administrator?

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A. Josh Ehrets.

Q. If I understand correctly, the six directors
oversee the staff in their house. The overnight
administrator oversees sort of everybody during his
hours?

A. Correct. Exactly.

Q. Approximately how many different staff members
are in of each director of the different housing units?

A. Anywhere from ten to 15 maybe.

QO. Do the -- strike that.

As the director of residential operations and
having your hours generally finish around the 5:00 hour,
do the directors and overnight administrator have your
cell phone number?

A. Yes.

Q. How do they get access to your cell phone number?

A. They just add it. Just go off of the two that
just started, when they start, we share our cell phone
numbers.

Q. Is there a list that you share all the cell phone
numbers?

A. No.

Q. How do you share that information with them?

A. Supervision.

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Q. When you say you shared the information, how is
it shared, the information, email or phone number?

A. As I said in supervision, I have supervision with
them when somebody first starts. I would say, "Here is
my phone number. They would give me their phone
number."

Q. It would be sort of a face-to-face type of deal?
There are no emails or letters or anything to these
individuals?

A. Yeah. Face to face.

Q. In addition to the six directors and the
overnight administrator, does the nurse -- did you say
nurse?

A. We have nursing.

Q. Nursing. Does the nursing department have access
to your cell phone number?

A. I think so. Maybe.

Q. If something comes up after your normal hours,
again, when you leave around 5 or so, and I understand
some days it would be longer. If there is an issue,
would they call your cell phone?

A. If it is something major. We have an on call
system. An on call phone that is a Perkins phone that

an administrator, a program director, program

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coordinator carries for a week. It goes Friday to
Friday. They receive all the calls.

Now, if something reaches what we call like a
critical -- so somebody goes to the hospital, a runaway,
something major, police involvement, something big --
they would contact myself or the chief operating
officer.

Q. So the on call system, is that something that you
have to participate in?

A. For direct calls, no. But as the kind of
critical upper admin call, I rotate back and forth with
my COO, who is my supervisor.

Q. But the on call system, you have people who would
walk around with that phone for a week?

A. Yes.

Q. That does not include yourself?

A. No.

Q. You are the individual that gets the critical
phone calls in addition to the COO?

A. Correct.

Q. Would you say that there are critical calls to
your cell phone every month?

A. Yes.

Q. Approximately how many times per month?

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A. I wouldn't even give an approximation. It could
be none. It could be 15. Just kind of how it goes, you
know, it ebbs and flows, certainly.

Q. The school doesn't give you a work cell phone for
these calls; is that right?

A. No.

Q. If I understand you correctly, the school doesn't
reimburse you for the use of your phone. Is that
correct?

A. I have a $30 credit that I get from my agency.

Q. Who is the agency?

A. Doctor Franklin Perkins.

Q. So they give you a $30 credit because of the time
that you use on your phone per month; is that right?

MR. BRODERICK: Objection.

A. Originally when it was put in place, it was for
data. We were asked to have our -- part of
communication is email, having email access. That's how
it came up. I forget what year that started. That was
put in place a while ago and now it has just carried on.
It is something that I believe is either the first or
last check of each month you get a $30 credit. I don't
think it says anything like cell phone or anything on

it. I don't really look at it.

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Q. That's the --

A. Say that again.

Q. Is that monthly? Strike that.
How often do you get paid?
Biweekly.

So that is $30 per paycheck?
It is 12 times a year.

They give the $30 credit once a month?

> oO PO

Yeah. One check a month. I don't know if it is
the first or the last. That's why it is one or the
other. That's why it's 12 per year.

Q. That $30 credit is reflected in your pay stub, 12
times per year?

A. It should be. I never looked for it.
Was that $30 credit in place in 2019?
Yes.
Was it in place in 2018?
Yes.

Has it been in place for a couple of years now?

r Oo FP DO PF DO

Yes.

Q. The email that you get on your personal cell
phone, is that the same email that you would get if you
were on a desktop computer at work?

A. Yes, it is an Outlook account.

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Do you respond to your emails on your cell phone?
Yes, sometimes.
All the emails come to your cell phone?

Yes, if I open it up.

0 Fr Oo PP YO

Do you have a -- strike that.
Generally, how much email traffic would you get

in a day?

A. Maybe a hundred.

Q. Personal emails, how many emails do you get a
day?

A. You said personal?

Q. Yes.

A. I don't know, 50.

Q. 50 personal emails.

A. Each time you are asking questions there is a --

I don't know if you are hitting your microphone, it is
muffling.

(Technical difficulties.)
BY MR. POLANSKY:

Q. So I think I asked you, I don't know if you heard
it, excluding spam email on your personal email, how
many personal emails do you receive a day?

A. Not many. It is a lot of junk.

Q. When the staff members of the school call you on

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your phone, are they calling from a school number or
their personal cell phone number?

A. Can be either.

Q. Do you know the numbers that come up as staff
members, do their numbers come up on your cell phone?

A. Yes. Usually I guess there has some
clarification in there. I don't get direct calls from

-- so when you say staff, you might be speaking of my

administrators, you know, that are underneath me. Staff

are the staff that work in the programs. Then the
administrators, there are program coordinators. There
are directors.

The directors and coordinators are the on call
folks. So they take calls through the on call phone.
And they either call me. Sometimes they call me from
the on call phone. Sometimes they use their phone.
Sometimes if they are at work they call me from either
their work phone or their cell phone.

Q. That is a helpful clarification. You have the
six directors and then you have the one overnight
administrator and then you also have nursing that
reports directly to you; is that right?

A. Not nursing.

Q. Not nursing.

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Who does nursing report to?

A. The nursing director reports to one of our
clinical directors.

Q. Who does the clinical director report to?

A. The chief operating officer; same person that I do.

Q. Focusing on the six directors and the overnight
administrator, I understand all in there is about 86
staff members? Or is that including the directors and
overnight administrator?

A. That 80 -- roughly in that 86, that includes
directors, coordinators, overnight staff.

That's -- I think I told you we budgeted for but
we're rarely ever full. Tough job.

Q. Again, you know, let me know if I'm incorrect.
The folks would call you after hours would be the
directors and the overnight administrator; is that
right?

A. Or the coordinators because the coordinators are
in the rotation with the director.

Q. When you say the rotation, you are talking about
the on call system?

A. Yes.

Q. How many coordinators are there?

A. Five.

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Q. Who are they in 2019? Who they were in 2019?

A. Joy Zias. Jessica Tashajian. Dwayne Murray.
Will St. Claire. And Jeff Terho.

Q. Are they all still employed today by the school?

A. Yes.

QO. So there's these five individuals, the six
directors that we talked about, and the overnight
administrator that could possibly call you after hours.
Is that right?

A. Yes. The overnight has a second, like, an
assistant night awake administrator. It is a vacant
position right now. There are seven days in a week.
They work ten hours shifts. He only works four days a
week. Then the assistant night awake administrator
would work the other three nights.

QO. Who is that?

A. Last year it rotated and it's a vacant position
right now. So there was a few names that might have
been for 2019 was Kyle Burke and another -- I think
another person started after that like right around the
holiday season this year. I'm drawing a blank. She
didn't last very long.

Q. <All of those individuals, the directors, the

overnight administrator, the coordinators, you would

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have their cell phone number as well in your phone?

A. Yes.

Q. So if they called you, you would know it was
coming from one of them and not some unknown number?

A. Correct. There's two on call numbers. The PDs
or PCs would use the 8:00 a.m. to 10 p.m. where they
take calls. They also take any callouts during that
time.

The 10 p.m. to 8:00 a.m. the overnight
administrator or an assistant or a backup type person
they carry a phone as well. Each of them have a
work-issued on call phone.

Q. Is it also possible to receive calls from folks
in the residential home?

A. It is certainly possible.

But I don't get direct calls from them off it.

It goes to the on call system. They call the on call
phone. They talk to the PD, PC. And if it reaches that
critical nature that I spoke of, then it gets bumped up.

Q. Do you meet with the -- do you call them students
or residents?

A. I call them both. They are changeable. There
are residents and students. We have a school on site

that also day students come in for. There's roughly,

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say, a hundred day students that get bused in from an
hour radius. And then there's the 60 residential
students from the programs that attend school there.

Q. Do you meet with all of the residents or
students?

A. Do I meet with them?

Q. Yes. Do they have direct access to you or are
you mainly overseeing the administrator?

A. Yeah, I'm overseeing the program. Sometimes
things get, you know, the culture of the program, if you
will. Programming becomes unstable. Sometimes I
support the program director in trying to stabilize the
house. Sometimes if a student maybe did something
bigger that wasn't appropriate, you know, got in a fight
in multiple restraints, I sometimes join them in trying
to reset expectations or come up with an ISP,
individualized support plan; things like that.

So, directly, no. I have kind of gotten more and
more removed over the last three years.

Q. Do the students or residents have direct access
to you if they want to get ahold of you? After hours?

A. If they wanted to talk to me, if they said, you
know, "I'm not happy with what is going on." I have a

kind of open door policy in that sense. They would talk

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to their staff.

They would talk to their program director,
coordinator and say, Sometimes a lot of kids want to
skip and jump right to the top, you know. So they can't
just walk over to my office and walk in.

Q. What about contacting you after hours, would the
students or residences ever do that?

A. No.

Q. What about their parents, do they have access to
your cell phone number?

A. Their what?

Q. Their parents. The students ages are 12 to 21.
Would you be involved with their parents at all?

A. No.

Q. Their parents wouldn't contact you on your
personal cell phone?

A. No.

Q. Have you ever received calls from the students or
residents on your cell phone?

A. No.

Q. If a student was hospitalized that would come
through the nursing department?

A. Hospitalized? Well, it depends on what we are

saying there. We have psychiatric emergencies so kids

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become so dysregulated that they need to be evaluated.
They go to an ER.

That stuff in the evening goes through the on
call. Typically there is a precursor to it. A bigger
event, an incident, you know, an assault or a restraint
or something of that nature that triggers a psychiatric
emergency, where they would go to be evaluated.

QO. Outside of the residential unit, are there other
individuals at the school that would contact you after
hours?

A. No.

Q. The CEO wouldn't contact a CFO or COO; things
like that?

A. No. If there is a bigger, bigger, you know,
incident that happens, I would contact my supervisor,
the CoO. If he was on vacation or something, out of the
country, I would call the CoO. That is kind of our
chain of command.

Q. Are you aware of any written formal policy
regarding calling you after hours?

A. No.

Q. Are you aware of any informal policy other than
what you have already discussed about calling after

hours?

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A. No.

Q. The folks that report to you understand that if
something reaches that critical level that they can
call?

A. Yes. They should.

Q. I think last time you said were 11
administrators. When we have been discussing the
coordinators, the directors, are you lumping those into
that term administrator?

A. Yeah. Exactly. In that I was speaking directly
to the program so that is six directors, five
coordinators.

Then, again, I took the night administrator not
in that 11. It is kind of a separate entity. That
person is responsible for overnight staff and all six
programs. Whereas, the director and coordinator for a
team would be responsible for the first shift and second
shift.

Q. I don't want to do it right now. I don't want to
take the time to do it. If it was asked of you to
provide the cell phone numbers for those 11
administrators and overnight administrator, could you
do so?

A. Yes.

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(Technical difficulties.)

THE VIDEOGRAPHER: The time is 11:20. We're
off the record.

(Break in the proceedings.)

THE VIDEOGRAPHER: This is the beginning of
media number three. We are back on the record. The
time is 11:25.

MR. POLANSKY: Ted, are you agreeable to
providing those numbers after the fact? Or do you want
me to go through that now?

MR. BRODERICK: No, we can get you those
because he could easily just serve them.

Cell numbers for whom exactly?

MR. POLANSKY: For the administrators that
call him after hours. I think there's 11 or 12
individuals.

THE WITNESS: Are you asking for the ones
currently or last year?

MR. POLANSKY: It would be last year.

THE WITNESS: It would be slightly
different.

MR. POLANSKY: That's all right.

MR. BRODERICK: Kevin, when you get to a

breaking point, I could use, not an emergency, you know

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five minutes.

MR. POLANSKY: Now is fine. I am still
booting up. Now would be a good time.

THE VIDEOGRAPHER: The time is 11:26. We
are off the record.

{Break in the proceedings.)

THE VIDEOGRAPHER: This is the beginning of
media number four. We are back on the record. The time
is 11:36.

BY MR. POLANSKY:
Q. Okay. I'm going to show you another document.

(Document marked Exhibit No. 3 for
identification.)

Q. Mr. Mantha, do you see what I have put in front
of you as Exhibit 3?

A. Yes.

Q. And in discovery, we had asked for your business
records and this is what I was provided.

Is that your business card?

A. That is.

QO. Is that a current business card?

A. Yes.

Q. How many prior business cards have you had, if
any?

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A. I think I had one as a program director prior to

this position, which would have just read the same but

with program director underneath it.

Q. This lists your direct line at the school; is

that right?
A. Um-hmm.
Q. It doesn't go to your cell phone?

A. No.

Q. Do you ever forward your calls from your direct

line to your cell phone?
A. Now I do.

Q. When did you start doing that?

A. After COVID hit we started doing a lot more

remote stuff. Just started learning a lot more

capabilities of our phone system.

Q. Now the calls that go to this direct line will be

forwarded to your cell phone?

A. They could if it is turned on. It is through an

app.

How often do you turn it on?

A. Since COVID hit I had it on pretty much all the

time.

Q. Do you have the prior business card?

A. I don't think so I think I would have tossed it

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when I got these. I don't think so.
Q. Did you look for them when you worked looked for
this card?

A. No. I think I just hit three years at this

position.
Q. When you got the business card, do you -- strike
that.

Is the business card issued by the school or in
certain format or do you request what is provided on the
card?

A. It is issued by the school. I didn't request
anything.

Q. Do you have any other sort of documentation
regarding any directories that the school provides with
your phone number on it -- your cell phone number on it?

A. No.

Q. Are you aware of any directories that include
your cell phone?

A. No.

Q. Are you aware of any directories that include
your business phone, your school phone?

A. Yes.

Q. What are those directories?

A. That is the directory in our phone system, which

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is called Ring Central that is also the app that I would
put on my phone. So within Ring Central there is a
directory.

Q. And is Ring Central something that you have
access to an internet browser? Can you go in Ring
Central and print out a telephone directory?

A. Yes.

Q. Have you done that in this case?

A. I have a copy of our directory sitting on my desk
so that I don't have to go into the app every single
time at my desk and look for somebody.

Q. Have you provided that to your counsel?

A. I don't think so.

Q. Why not?

A. I'm not sure.

MR. BRODERICK: Objection.
BY MR. POLANSKY:

Q. You can answer. Why have you not provided that
telephone directory to your counsel?

A. I said --

MR. BRODERICK: Objection. I don't think it
was requested.
MR. POLANSKY: Well, it was requested. We

are going to go through those requests. That's why I'm

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asking. I think it is relevant as to why any sort of
telephone directory wasn't provided.

Again, we will go through the specific
request later. But apparently it was requested of
Mr. Mantha. And now I will go down that road about, you
know, what he provided and when and what else is out
there.

MR. BRODERICK: You requested it of the
school.

MR. POLANSKY: No, I requested it of
Mr. Mantha. We will take a look at it. We will go
through those requests later as they are very specific.
BY MR. POLANSKY:

Q. Is this the telephone directory for 2020?

A. I don't know what it -- like is it for a year or
is it just ongoing? I don't know how it is operated or
who oversees it. How many numbers get plugged in. You
know what I mean, if a new employee starts they somehow
get in there. I think it is an ongoing directory.

Q. Are you aware of any school directories that are
not contained in Ring Central?

A. Not since Ring Central started.

Q. When did Ring Central start?

A. A few years, two or three. I don't know exactly.

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Q. Are you aware of a document called the Franklin
Perkins School Ed manual?

A. Ed manual? That would be education.

QO. Yes, education manual.

A. No. I'm residential so, you know, we are kind of
separate divisions.

{Document marked as Exhibit No. 4 for

identification.)
BY MR. POLANSKY:

Q. I'm going put this on my screen in a moment.

Can you see what has been marked as Exhibit 4 on

my screen?

A. Yes.

Q. Have you ever seen one of these education manuals
before?

A. I would have to see what is still in it.

Q. It has organizational charts. School contact
numbers. Program contact numbers.

Now you have been here since 2014, 2015; right?

A. Yes, 2007.

Q. Do you know if this was provided to all employees
for the school including residential?

A. I don't know. It is an educational document, it

is not a residential document. It is not something that

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I refer to or --

Q. I'm looking at where it says school contacts. It
has numbers for teachers, clinical nurse specialist; is
that somebody who would report to you?

A. No.

Q. Is that somebody that might call you?

A. No. That is somebody underneath -- that is like
a -- like a nurse practitioner. They are not a
psychiatrist but they can prescribe meds.

Q. What about residential program, does that apply
to you?

A. Yes. Tim Hammond is now the chief operating
officer.

Q. What about Terri Philbrick?

A. Terri is still one of the clinical directors. We
now have two. And Meg McDonald is still the director of
nursing healthcare.

Q. There are numbers of residential programs,
individuals, at least as of 2014, 2015 in this manual?

A. Yes.

Q. Then it has different buildings. Are these
residential buildings?

A. Correct.

QO. You would --

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A. If you just go right there, in 2014, 2015 I was
the program director of Curtis and Duplex.

Q. These people would report to you?

A. Not the program nurse. That is just a list of
program staff down below, the day staff, evening staff.
The nurse would report to the nursing director, Meg.

Q. Does this refresh your memory as to whether you
would have received this?

A. No.

Q. Do you have access to other manuals like this at
the school?

A. Access to -- there is a lot of policy.

Q. Sure. What I'm getting at --

A. This is telephone numbers. This is something
that I have never seen.

Q. Do you know where they would keep documents like
this at the school?

A. No. We have an F drive, if you will, that has --
you know, kind of like a drive for the agency that has
all different folders in it. The school has some
folders. Residential has some folders. We have adult
services. Child development center. Rein In A Dream;
it is a therapeutic riding program, horsemanship.

There are six divisions, if you will, bigger

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divisions.

Q. I'm going to ask you phone numbers and tell me if
you recognize them. 978-368, those are the first six
numbers of the school, right? Area code?

A. Correct. Sometimes it is the 365. Then the main
number that is on the business card I think has a
different one as well.

Q. 978-368 -- 978-365.

A. Then a four digit extension 4900.
Q. Do you know who 4904 is?

A. Off the top of my head, I don't.
Q. What about 4818?

A. I think that is Carol, the nurse.
QO. How about 1658?

A. I don't know.

QO. What about 6415?

A. Yes.

Q. Who is that?

A. That is HR.

Q. Would it be typical for HR to call you after
hours?

A. No.

Q. What would be the purpose of a call after hours

from HR?

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A. If we were unable to connect, that was the only
time to connect. We just said, Can we contact?

QO. What about 6424?

A. That sounds familiar. That is the manner
program, supervisor line.

Q. So that would be -- do you see, 6424; that is
right?

A. Yes.

Q. Why would the supervisors be calling you after
hours?

A. Typically they wouldn't. At that point back in
2014, 2015 when I was a director, they might have been
calling me.

Q. What about in 2019?

A. 2019, they wouldn't call me, if at all.

Q. Even if they did, what would be the reason for
them calling?

A. Emergency.

Q. Was it -- back in 2014, 2015 was it typical for
them to call you in your role at that time?

A. More so.

What about 6451?

Q
A. 6451?
Q Um-hmm.

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A. HR. Deb Dawson.

Q. Same question as earlier, why would she be
calling you after hours?

A. Deb?

Q. Yes.

A. I don't know.

Q. I guess if it was during hours, why would they be
calling you on your cell phone rather than your work
phone?

A. If something came up that was staff injuries,
need to get paperwork submitted. They have a lot of
staff get injured in incidents. Some things are on a
timely matter. Sometimes if they were unable to get
ahold of me via email or my work line. We are a campus
so, you know, so pre-COVID, we are moving around the
campus a lot, meetings all over the school. So I guess
if they were trying to track me down.

Q. It would be easier tracking you down on your cell
phone than your work phone during the day?

A. Yeah. Pre-COVID probably.

Q. During the day, pre-COVID, were you in front of
your office or were you out of your office, meeting with
people?

A. It is 50/50, maybe. I have a lot of meetings,

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six programs, a lot of different meetings and meeting
with program directors. Sometimes I go to their office
versus mine. Lots of different meetings, whether it is
my building or school building.

Q. And if 50 percent of your time is outside of the
office, how often would you check your email to make
sure you are getting back to people?

A. Hard to put a time on it. If a meeting was
starting would I check my phone and check emails? Sure.
If there was a break in a meeting would I check my
email? Sure.

Q. Are you familiar with a number 6504?

6504? Yes. Weymouth.
Is Weymouth another residential hall?

Yes.

A
Q
A
Q. What about 6535 is that duplex?
A Duplex.

Q 6544?

A

6544, that is a weird -- I think that is Steve

Q. Who is Steve Young?
A. The director of facilities. But I'm nota
hundred percent sure. I'm guessing there, just letting

you know. Doing the best I can.

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Q. You are doing well. 6551 is that Curtis?

A. 6551 is Curtis, correct.

Q. What about 8600?

A. 8600, I have no idea. 8600?

Q. Yes.

A. That doesn't even sound like one of our
extensions.

Q. It's 978-368-8600.

A. No.

Q. What about 6420?

A. 6420 that seems familiar. I'm not sure.

Q. 4861?

A. Yeah. I think that is one of the house lines

maybe at Curtis.

Q.

A
Q.
A

6541?

Whitehall.

4861?

I think that is the one we just said. I think it
Curtis house line. Each house has a supervisor
and then a house line.

534?

6534?

No, no. 4003?

4003?

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Yes.

I don't know that one.
6545?

Yes, Tim Hammond.

Who is Tim Hammond?
Chief operating officer.

4814?

PrP OD PP OO PP OP *

4814, sounds familiar but I'm not sure. I don't
know exactly who that one is.

Q. Then on your business card you have 978-365-7376;
right?

A. Yes. That goes to like the operator, if you
will, kind of a straight in call.

Q. Okay. I was going to ask you why would that
number be calling you?

A. That is back before everything -- every time you
called out of Perkins, that is the number that showed
up.

Q. Okay.

A. So that is the main number. Everything went
through that -- what am I trying to say -- switchboard.
Right.

Q. Yes. Then you said there are two on call cell

phones. Do you know the number of those two?

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A. I would have to look.

Q. Do you mind looking? Or if your counsel wants to
provide them after, we can move along.

MR. BRODERICK: Yeah, I can do that. Let me
keep a running list here.

MR. POLANSKY: On call phone numbers.

MR. BRODERICK: Gotcha.
BY MR. POLANSKY:

Q. I want to take a few minutes to go through the
browsing history. My understanding is back in May you
provided access to your two laptops. One is your
personal use and the other has photos in your phone to
Mr. DePui; is that right?

A. Correct.

Q. He imaged or copied all of those browsers?

A. Correct.

Q. You previously testified that the only one he
couldn't find was June of 2019; is that right?

MR. BRODERICK: Objection.

A. The only one that he couldn't find, I don't know
what that means.

Q. Sure. You testified that the browser history
didn't go back to June of 2019; is that right?

A. Correct.

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Q.

A.

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That is something that he told you?
MR. BRODERICK: Objection.

I don't recall if he told me that or if my

counsel told me that.

Q.

But, in any event, you testified that they didn't

have a browser history for June of 2019; is that right?

A.

Q.

Correct.

Did he give you a copy of the imaging that he

took from your browser?

A.

Q.

No.

Now, I understand that you no longer intend to

call him as an expert in this case. And that you have

personal knowledge of your browser. Is that correct?
A. When you say personal knowledge of my browser?
QO. Sure.
A. What does that mean?
Q. Well, have you looked back to see whether your

browser history exists for July of 2019?

A.

Q
A.
Q

Yes.
Does it?
No.

When is the last time, to your knowledge, that it

did exist?

MR. BRODERICK: Objection.

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A. Well, I think based on -- I don't even know at
this point. I think it was three months that it went
back. If it was three months, it would be three months
from whatever that date is.

Q. How do you know it was three months?

A. When I was asked to do it, I went on -- I Googled
how to search my browser. I'm not IT. I'm not computer
savvy. I Googled how to search my browser. I followed
the quick -- I think it was two or three steps. That's
what it came up with. I think -- I'm going off memory
here. I think it is three months. I don't know. I
think it is three months.

Q. So in light of your sort of inexperience
reviewing browser history, are you comfortable affirming
that there is no July 2019 browsing history on any of
three devices?

MR. BRODERICK: Objection.

A. Yes. According to the steps that I took to look
back that's what it showed me.

Q. The steps that you found on a website? A Google
search?

A. Sure. Yes.

Q. Did you take those steps prior to providing

access to your devices to Mr. DePui?

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A. I think I was asked, "Can you tell how far back
it goes?" I think I looked at that time and was asked
to provide -- take images, if that's what you call it.

Q. Did you find images?

A. No. When I say image your computer that's have
somebody, the person that you referenced, image my
computers.

When you say image that, I'm talking about, I
believe, the hard drive or something like that. Not an
image like a photo. But I guess it is the same thing if
you are talking scales.

Q. I want to see if I can dissect this a little bit.

Prior to Mr. DePui copying the three devices, did
you ever go back prior to that to see what was available
as far as your browser history went?

MR. BRODERICK: Objection. Asked and
answered.

MR. POLANSKY: If it has been asked and
answered, it is has unclear.
BY MR. POLANSKY:

Q. Did you?

Do you want me to ask the question again? Do you
understand the question?

A. No. It kind of -- you know, I don't know what

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Ted said. Sorry.

MR. BRODERICK: I said: Objection, asked
and answered.
BY MR. POLANSKY:

Q. Mr. DePui imaged your devices in May of 2019, is
that right?

A. Yes. I'm not sure of the exact date but it would
lineup with what I remember.

Q. Prior to that time, by "that time," I mean
Mr. DePui imaging your devices. Did you ever go back
and search your browsing history to see what was
available in 2019?

MR. BRODERICK: Objection.

A. I think right before we reached out or, you know,
had the computers imaged, I did the same thing. I think
I checked. And I think I said whatever -- I don't even
know. I think it is 90 days. I'm not a hundred percent
sure in my head right now what it is. I reported that
and then we had them imaged.

Q. Do you know why they were imaged if the browsing
history didn't exist at that time?

A. I don't.

Q. Do you have -- strike that.

How many times have you spoken to Mr. DePui?

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A. A handful, a couple of times, each time to -- we
did this remotely, so it was, you know, can we set up
this time. We'd set up a time and I would sit down and
plug, you know, a hard drive into my computer, he'd
remotely takeover my computer and do whatever he did. I
don't know the terms, sorry.

Q. That's all right.

Was he successful -- and by "successful," was he
able to copy whatever is on your browser history at that
time?

A. I believe so.

Q. Did he provide you with a copy of what was copied
by him or imaged by him?

A. No.

Q. Have you asked him for a copy?

A. No.

Q. Did you speak to him after he imaged your browser
history?

A. No.

Q. Did he ever tell you that in June of 2019,
browser history didn't exist?

A. No.

Q. Did he ever tell you July of 2019 browser history

didn't exist?

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A. No.

Q. What about August 2019?

A. No. He didn't tell me anything. He imaged the
stuff and it was, "Thank you. Bye."

I never had any type of conversation with him.

Q. Now, in your discovery responses, which we are
going to take a look at very shortly. You say there is
no responsive documents. I understand that your lawyers
drafted your responses. What I'm trying to figure out,
I just want to confirm is whether the browser history,
to your knowledge, exist for June, July or August of
2019?

A. To my knowledge they don't.

Q. Do you know when the last time they existed?

MR. BRODERICK: Objection; asked and
answered.

THE WITNESS: Am I answering?

MR. BRODERICK: Yes. You can answer unless
I tell you not to answer.

A. If, you know, again, I think I said I think it's
in 90 days that it went back. So 90 days from whatever,
whatever date you choose, would be the last time it
existed if that's how it works.

Q. When did you -- when did you come to understand

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that QuoteWizard was alleging that you had provided
consent to go on to the SnappyAutoInsurance.com website?

A. I don't remember the exact date.

Q. In your answers to interrogatories you stated
that you retained Alex Washkowitz in August 30th of
2019; is that right?

A. I would have to look at it. If you are saying
that that is the date then okay.

Q. Are you aware that they sent a demand letter to
QuoteWizard regarding these text messages?

A. I don't know what you really mean by a demand
letter.

Q. Are you aware that they sent a letter to
QuoteWizard as a result of the text messages that you
received from QuoteWizard?

A. I'm aware that they reached out to them. I don't
know the names and what time frames.

Q. Did you ever see a response by my office to that
letter?

A. I do not recall.

Q. Prior to May 2020, did you take any steps to
preserve your browser history?

A. May 2020? That's when -- what's the name?

QO. Mr. DePui?

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A. Mr. DePui. No.

Q. Have you ever gone in and deleted your browser
history?

A. No.

Q. Have you cleared the cookies? The think I asked
last time what a cookie is?

A. You said that last time. To me that is Keebler
and Girl Scouts.

Q. Do you know why Mr. DePui didn't image your work
computer, your work desktop computer?

A. No.

Q. Have you ever gone back on the work computer and
looked for the browser history?

A. No.

QO. You haven't looked to see whether the browser
history for June, July, or August of 2019 exists on the
work computer?

A. No, I don't think so. I don't remember.

Q. You testified last time that when you gave Mr.
DePui your laptop, they told you it only went back one
year. Do you remember that?

MR. BRODERICK: Objection.
A. Yeah. And then you said one year. One year

would cover that time.

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Q. Do you know whether what they imaged included one
year's worth of browser history?

A. I don't know.

Q. After your first deposition, did you go back and
look to see whether any of your browser history for that
three year period existed?

MR. BRODERICK: Objection.

A. After the deposition?

Q. After your deposition.

A. Recently, again, yes.

Q. When was the most recent time that you've looked?

A. I don't have date. I think it was after the
deposition, checked again to see how far it went back.

I think I used the same tactic of Google search. How to
search my browser, if you will.

Q. Has anyone else had access to your computer since
the last deposition?

A. No.

Q. Other than Mr. DePui, has anyone else looked at
your computer to look at browser history?

A. No. Me.

Q. How about your wife?

A. No.

Q. You testified at your last deposition that you

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never reviewed your browser history prior to giving it
to Mr. DePui?
MR. BRODERICK: Objection.
Q. Do you recall that?
MR. BRODERICK: Objection.

A. No.

Q. I'm going to show you your deposition transcript.
Do you see where I asked you: "Have you ever reviewed
your browser history back to June of 2019 since this
litigation started?"

Your answer was "No."
Do you see that?

A. Yes.

Q. A moment ago you testified that you had attempted
to review it before you gave your device to Mr. DePui to
image; is that right?

MR. BRODERICK: Objection. Can you read the
rest of the testimony?

MR. POLANSKY: Sure. Do you want to read
the rest of the testimony? It seems pretty clear to me.

MR. BRODERICK: "I did make an attempt but
I'm not tech savvy."
BY MR. POLANSKY:

Q. It said, "Did you ever review your browsing

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history at any time to determine whether you went on the
website SnappyAutoInsurance.com?"

MR. BRODERICK: "I did make an attempt but I
am not tech savvy."

I don't think it is a fair characterization
of the testimony to say.

MR. POLANSKY: I would disagree. That's why
I'm asking it now.

BY MR. POLANSKY:

Q. What I would like to know is prior to giving your
devices to Mr. DePui to have imaged, did you ever review
your browser history back to June --

MR. BRODERICK: Asked and answered. This is
the third time now.

MR. POLANSKY: Ted, you just said it is not
a fair characterization of his testimony.

MR. BRODERICK: That's a fair
characterization. This is the third time you are asking
him this question.

MR. POLANSKY: I want a clear record.

MR. BRODERICK: Let me get my objection on
the record.

MR. POLANSKY: Sure.

MR. BRODERICK: You can't ask him three

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times just because you don't like the answer.
MR. POLANSKY: I will stick with the answer
that we have.
BY MR. POLANSKY:
Q. Unless you would like to change your answer,
Mr. Mantha?

A. No.

Q. Did you ever provide your devices to your
attorneys, and I don't want to know what you
communicated with them. I'm asking if you ever provided
your devices to your attorney?

A. No.

QO. What about Mr. Novia?

A. No.

Q. Does Mr. Novia have access to your email
information?

MR. BRODERICK: Objection.

A. Like does he know my email address? Or does he
have access into my account?

Q. Into your account?

A. No.

QO. Back to Mr. Novia for a moment.

After Mr. Novia's deposition, did he call you to

tell you how it went?

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A. No.

Q. Where there any text messages exchanged?

A. No.

Q. Is it fair to say that there are no text messages
between you and Mr. Novia at all in your cell phone?

A. Correct.

Q. Going back to 2019, there is a call record
between you and Mr. Novia on July 20th.

Do you remember anything about that phone call?

A. No.

Q. What about in August of 2019 there's four calls
between you and Mr. Novia, do you have any recollection
of the substance of any of those calls?

A. No. What are the dates?

Q. The dates would August 19, 22, 29th and then
September 12th.

And those calls -- were they long calls?

I would have to go back and look at the records.

> Oo >

And what was the date of the text messages?

Q. The date of the text messages was in August, I
believe, August 5th.

A. So were the calls after that?

QO. And at least four other calls after text

messages?

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A. I would definitely say that there was a
possibility that during one of those calls that we
discussed this.

Q. That's the information about him advising you how
you had to find out who the sender was?

A. Yes. I got information from him around counsel;
all of the above.

Q. Right. But when you say all of the above, I have
to drill down.

He advised you and counsel; right?

A. Yes.

Q. He advised you --

A. No. It was his phone number.

Q. Did he give that to you over phone or by email or
text. Do you recall?

A. I don't.

Q. He advised you you have to find the source or the
entity behind the text messages; right?

A. I don't know if he said that. I don't know if he
said that you have to find the source or entity behind
it?

Q. Did he say you have to find out who is sending
you the text?

A. I don't recall if he said that.

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Q. I think last time you testified to that, that's
fine. We will leave that alone.

Do you recall anything else he might have said to
you during those calls?

A. I don't.

Q. Did you ever email with Mr. Novia?

A. No.

Q. You have no emails between him and you regarding
any of those calls?

A. No.

Q. After your last deposition, did you go back and
review the dates of the emails that you first had with
Alex Washkowitz? I'm not asking again any substance.
I'm asking for dates.

A. I don't think I did. I'm not -- emails. I'm not
sure. I don't know.

Q. I just want to pull up some of the documents that
your other response that you -- strike that.

I want to pull up discovery responses your
attorney has recently served on us and then we should
just be about done.

You don't happen to have those in front of you,
do you? The supplemental responses to RPDs. Answers to

interrogatories?

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MR. POLANSKY: Before we do this, does
anyone need to take a break? This will run about ten
minutes.

MR. BRODERICK: It's okay with me.

MR. POLANSKY: Ted, Exhibit 5 is
Supplemental Answers to Interrogatories.

MR. BRODERICK: You mean in the Exhibit
Share?

MR. POLANSKY: Yes.

Off the record for a moment.

THE VIDEOGRAPHER: The time is 12:23. We
are off the record.

(Break in the proceedings.)

THE VIDEOGRAPHER: This is the beginning of
media number five. We are back on the record. The time
is 12:25.

(Document marked as Exhibit No. 5 for
identification.)

BY MR. POLANSKY:

Q. I'm now showing you what has been marked as
Exhibit 5 for identification. These are Plaintiffs'
Answers to Defendants' First Set of Interrogatories as

supplemented.

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Have you seen this document before,

Mr. Mantha? I can scroll through it so it is easier.

A. Yeah. Most likely. They all look the same at
this point to me.

Q. So you signed it, Mr. Mantha, it looks like on
August 18th; is that right?

A. Yes.

MR. BRODERICK: I thought that is pretty
fancy, personally.
MR. POLANSKY: It is. I have never used

that before.
BY MR. POLANSKY:

Q. I want to go through just a few of these.
Number seven says, "Please identify your employer and
your position of employment from January 1, 2019 to
present and state whether you used the telephone number
508.353.9690 for relating to or in connection with your
employment for January 1, 2019. Describing your use of
that telephone number for business employment purposes."

Okay. Do you see that question?

A. Yes.

Q. Here is the supplementary answer that you gave,
your employer is Doctor Franklin Perkins School. Right?

A. Um-hmm.

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Q. You are the director of residential operations;
right?

A. Yep.

Q. You state the telephone number is 508.353.9690 is
my personal cell phone number, right?

A. Correct.

Q. You state, "I use it overwhelming for personal
and residential purposes."

Is that right?

A. Um-hmn.

Q. So you would agree that you do use it in some
respects for your work; is that right?

MR. BRODERICK: Objection.

A. At times.

Q. So we went through all the numbers that have
called you and the individuals that call you on your
cell phone. Is that right?

A. We went through some numbers.

Q. Can you -- can you apportion what percentage you
use for personal use versus work use?

MR. BRODERICK: Objection.

A. I couldn't, no.

Q. Is it 50/50?

A. I don't know.

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Q. Could it be 50/50?
MR. BRODERICK: Objection.
A. I don't know.
Q. Number eight asks you to "....describe any

communications that you had with anyone else regarding
this case or regarding auto insurance generally."
Do you see that?

A. Um-hmm.

Q. In your answer you described communications that

you had with Steve Novia that we have gone through at
length; right?

A. Correct.

Q. You didn't identify your wife, though. You
identified her in the answer but not the supplemental
answer. Is there a reason for that?

A. Can you go back up to the -- the question?

Q. The question, yes.

A. So it is asking if I had any -- who did I have
communication with? Who knows about this whole thing?

QO. Yes.

A. Yes. Those two.

Q. Okay. I was just wondering your why your wife
wasn't included in the supplemental. Is that because

she was identified in the first answer?

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A. Yeah, I guess. I'm not sure.

Q. Now, we also spoke today about a few other
individuals you have talked to about this case.

Dr. Padon. Is that right?

A. Derek.

Q. Derek Padon; right?

You don't list him, why is that?

A. I didn't really speak with him, I guess, at any
length about it. It was a subpoena that came in that
said, Why are we being subpoenaed? At that point I had
to.

Q. Is there anyone other than those three
individuals, and Michael Ames, that you have spoken to
about this case other than your attorneys?

MR. BRODERICK: Objection.

A. I said that prior to the first deposition, I
spoke to my chief operating officer, Tim Hammond. I had
to take a day off of work. I gave hima brief -- I said
I'm in the middle of a lawsuit.

Q. Anybody else?

A. I can't think.

Q. Okay. Number 19, "Please state whether you
helped, guided, or otherwise informed your responses to

QuoteWizard communications in and around August of 2019.

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And identify those persons and the substance of your
conversations with them."

Since your last deposition, you provided a
supplemental answer. And it says "Apart from Steven
Novia advising me that I needed to identify who was
behind the text messages that I received, no one helped
guide or otherwise inform my communications with
QuoteWizard."

Do you see that?

A. Um-hmn.

Q. I asked you a moment ago as to whether he gave
you advice as to finding out who the identity was. And
you didn't recall. Does this refresh your memory about
what he told you?

A. Yeah.

You have changed what you said multiple times. I
think the first deposition you used the word "coach,"
consecutively and kept repetitively saying, "Coached,
coached, coached."

Q. Here is your opportunity to tell me.

MR. BRODERICK: Objection.

A. I think you said there was a few phone calls in

August with Steve, do you remember the nature of them?

I said it was around this -- it was probably around

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this. I don't know the exact -- every statement --
every, you know, back and forth that we had about it --
but...
Q. I understand. I'm asking if this refreshes your
memory. This is your answer; right?
A. Um-hmn.
Q. As to whether he advised you to find out the
identity behind the text messages?
MR. BRODERICK: Objection.
A. Yes. I guess I asked -- I responded.
Q. Okay.
Number 20, it says, "Please identify the date in
which you retained your attorneys." You provided a
supplemental answer.
Can you read that?
A. Yes.
Q. And how did you find out that it was August 31st,
that you retained your attorneys after the deposition?
MR. BRODERICK: Objection. I'm going to
instruct you not to disclose --
MR. POLANSKY: Yes.
MR. BRODERICK: -- attorney-client
communication with Alex.

BY MR. POLANSKY:

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Q. Don't tell me anything you communicated with him.
How did you find out that August 31st was the
first date that you communicated with him?

A. I don't recall if I looked up in my email or he
sent the email back to me or something like that. I
don't know.

Q. How did you --

A. I originally reached out to Alex via email. I
said who I am.

Q. So you emailed him and that was the first date?

A. If that is August 31st then I will go with that,

Q. I don't know. I'm asking you.

A. Right here, right now, off the top of my head, I
am saying that I am not a hundred percent positive. I
would to look. But if that is what I wrote at some
point it was sent back to me or I looked it up. I don't
recall which way I confirmed that.

Q. Okay. In number 25, can you read that to
yourself? The supplemental answer, after you read the
question.

A. Okay.

Q. Is that the entirety of your personal knowledge

for the basis of claiming that the Joseph Mantha consent

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was fraudulent?

A. Yep. The big pieces, I'm not shopping or I

wasn't or haven't been shopping for auto insurance so.
(Document marked as Exhibit No. 6 for

identification.)

BY MR. POLANSKY:

Q. Let's see if we can go through the rest of these
pretty quickly.

I'm showing you what has been marked as
Exhibit 7 -- 6 for identification. These are your
Supplemental Answers to Defendant's First Set of
Admissions.

Have you seen these before?

A. I'm thinking, yes.

Q. I'm going to scroll through quickly. So it isa
six page document.

MR. BRODERICK: What number is it going to
be Kevin, for the record.
MR. POLANSKY: I believe it is 6.

Q. I want to flip to number -- I want to go to
number eight, A request for admission number 8,
supplemental answer.

Can you read those to yourself.

(Pause in the proceedings. )

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A. Okay.

Q. It could just be semantics. But I want to
understand why you denied that given Mr. Novia's
interactions with you?

Is there any part of that in which you are
specifically denying? Didn't we just review his advice
or assistance?

MR. BRODERICK: Objection.

A. We did. I'm not sure.

Q. Same question for number 9. It might be
semantics. Could you take a look at that request and
answer?

MR. BRODERICK: Objection.
(Pause in the proceedings.)

A. Okay.

Q. So we just looked at your supplemental answer
advising that you retained Alex Washkowitz on
August 31, 2019; right?

A. Correct.

Q. But you've denied that you were in communications
with your attorneys in and around August 2019; is that
inaccurate?

MR. BRODERICK: Objection.

A. No. That's not what it is saying, I don't

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believe, the way I'm reading it. The way I'm reading it
says it doesn't relate to the issue of consent. When
this was asked, this was related to consent which that
has nothing to do with. Am I misreading that?

Q. I don't see the word consent in that request, do
you?

MR. BRODERICK: Objection. The request is
during the time that you received and responded.
BY MR. POLANSKY:

Q. So is it your testimony, Mr. Mantha, that you
discussed or first retained counsel after you responded
to the text messages from QuoteWizard?

A. I retained counsel after I responded.

Q. So you've denied that you used the number
508.353.9690 for nonresidential uses; right?

A. Say that again? Sorry. I was reading as well in
a different spot.

Q. You see the request, right? You can read it
yourself?

A. Yes.

Q. But we have discussed at length today that you
have used your phone for work purposes. No?

MR. BRODERICK: Objection.

A. In emergency situations.

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Q. This doesn't say in emergency situations, does
it? It says for nonresidential uses?
MR. BRODERICK: Objection.
A. Yes.
Q. Is this answer correct or incorrect?
MR. BRODERICK: Objection.
A. It is not clear the way it says.
QO. It is not clear?

A. The way it's stated, it says that -- I'm saying
me, I, he cannot control who calls him for what reasons.
Q. That's your answer. I'm asking the first word

that you wrote here is "denied"; isn't that right?
MR. BRODERICK: Objection. He didn't write
it. He is not signing this.
MR. POLANSKY: They are on his behalf,
aren't they?
MR. BRODERICK: These are counsel.
MR. POLANSKY: Aren't these on his behalf?
MR. BRODERICK: They are, but you are saying
he wrote it.
BY MR. POLANSKY:
Q. These were wrote on your behalf. It was denied.
I'm asking if the answer is a correct answer or not or

an accurate answer?

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MR. BRODERICK: Objection.
MR. POLANSKY: You can object.
BY MR. POLANSKY:

Q. You can answer.

A. I've received phone calls from my work on my
telephone.

Q. Which you would agree are nonresidential uses;
right?

MR. BRODERICK: Objection.
BY MR. POLANSKY:

Q. You can answer.

MR. BRODERICK: Objection.

A. Correct.

Q. Number 11, can you read the request in the
supplemental answer?

A. Um-hmm.

Q. In your supplemental answer, it says,
"Plaintiff's cellular phone is a personal residential
cellular phone in his name and paid for by himself."
Right?

A. Yes.

Q. But you testified today that you received a $30
credit per month; isn't that right?

A. Correct.

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Q. You didn't state that in the answer -- strike
that.

Your counsel doesn't acknowledge that in the
answer; correct?

MR. BRODERICK: Objection.
A. It is not stated.
{Document marked as Exhibit No. 7 for
identification.)
BY MR. POLANSKY:
Q. One last document. I think we are just about
done. Okay. Let's put this back up in front of you?

These are -- Exhibit 7 are supplemental responses
that your counsel provided in discovery. I just want to
go through a few of them to see whether you are aware of
any additional documents. It is possible that I already
covered it, I might skip it.

As to number seven, it asks for "Any notes,
journals, ledgers, diaries, or other compilations
maintained by plaintiff. For any reason documented
communications with or from QuoteWizard."

Do you see that?

A. Okay.
Q. Are you aware of any ledgers or emails not

involving your counsel relating to these communications

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with QuoteWizard?
No.

Number eight, can you read that to yourself?

> Oo >

It jumped all around on me.

Q. I will leave it at the top is 8. And I want you
to read the supplemental answer.

A. I'm not really understanding the full extent of
the question.

Q. Other than the imaging that Mr. DePui took from
your three devices, are you aware of any other documents
provided to him?

MR. BRODERICK: Objection.

A. No.

Q. Are you aware of any other experts other than
Mr. DePui involved in this case?

A. No.

QO. 19, "Any and all documents evidencing your
physical location August 5, 2019."

You state that no responsive documents are in
plaintiff's possession or control.

When you -- did you buy things through your
normal course of living on your credit card?

A. Do I buy things on, like, a debit card?

QO. Yes. Debit or credit card?

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A. Sure. I buy them.

Q. And that would show the location where you made
the purchase?

A. I guess. I don't know. If I purchase something
online. I don't know. I never really looked through my
purchases in like a PDF that is more descriptive, maybe.

Q. Well, have you gone back to look through any sort
of debit or credit card statement to see what purchases
you might have made in August 5th, 2019 to determine
whether it has your physical location?

MR. BRODERICK: Objection.

A. No.

Q. I think the same question for number -- 21, we
already covered. I think the last one is --

I guess the same question for June of 2019. Is
it fair to say you haven't gone back through your credit
card or debit card statement to identify where you might
have made purchases during that period of time?

A. Fair.

Q. Two final questions. There was a response in one
of your discovery responses that you didn't own a Chevy
Trailblazer in 2019. Is that true?

A. Correct.

Q. Just for clarification purposes, did you ever use

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a Chevrolet Trailblazer in 2019?

A. No.

Q. As you sit here today, are you aware of the
number of text messages that you seek damages for in
this case?

A. I'm not sure of the number.

MR. POLANSKY: I think that is all I have.
Give me one second.

That's all I have, Mr. Mantha. Thank you
very much.

THE WITNESS: Thank you.

MR. POLANSKY: Mr. Broderick, do you have
any questions?

MR. BRODERICK: No questions from me.

MR. POLANSKY: Thank you.

THE VIDEOGRAPHER: This is the end of Joseph

Mantha day two and media number five in the deposition

for today. The time is 12:51. We are off the record.

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COMMONWEALTH OF MASSACHUSETTS.
COUNTY OF SUFFOLK, SS.

I, Lori J. Atkinson, Professional Court Reporter
and Notary Public duly and qualified in and for the
State of Massachusetts do hereby certify that the
foregoing transcript is a true and correct transcript of
my original stenographic notes.

I further certify that I am neither an attorney or
counsel for, nor related to or employed by any of the
parties to the action in which this deposition is taken;
and furthermore, that I am not a relative or employee of
any attorney or counsel employed by the parties hereto

or financially interested in the action.

IN WITNESS THEREOF, I have hereunto
Set my hand and affixed my Notarial Seal this 15th day
of October, 2020.

Bor \Q-ebinsor~
LORI J. ATKINSON
NOTARY PUBLIC

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DEPOSITION ERRATA SHEET

Case Caption: MANTHA VS QUOTEWIZARD

Deponent:

Deposition

JOSEPH MANTHA

Date September 10, 2020

To the Reporter:

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I have read the entire transcript of my Deposition taken

in the captioned matter or the same has been read to me.

I request that the following changes be entered upon the

record for

the reasons indicated. I have signed my name

to the Errata Sheet and the appropriate Certificate and

authorize you to attach both to the original transcript.

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Deposition of JOSEPH MANTHA

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